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 8                                  UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
 9                                           AT SEATTLE

10
     UNITED STATES OF AMERICA,
11
                            Plaintiff,
12
                                                                   CASE NO. CR08-0144 JLR
            v.
13
                                                                   DETENTION ORDER
     NAHUM COPADO-NIETO,
14
     a/k/a Alaquin,
     a/k/a Arturo Gallegos Diaz,
15
                            Defendant.
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     Offense charged:
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            Conspiracy to Distribute Methamphetamine (500 grams or more)
19
     Date of Detention Hearing: 05/29/08
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            The court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and based
21
     upon the factual findings and statement of reasons for detention hereafter set forth, finds that no
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     condition or combination of conditions which defendant can meet will reasonably assure the
23
     appearance of defendant as required and the safety of any other person and the community.
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     DETENTION ORDER - 1
26   18 U.S.C. § 3142(i)
         Case 2:08-cr-00144-JLR         Document 28         Filed 05/29/08      Page 2 of 3



 1               FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

 2         (1)     The Indictment charges defendant committed a drug offense which carries a maximum

 3                 penalty in excess of ten years. There is therefore a rebuttable presumption of detention

 4         (2)      Defendant is reportedly a citizen of Mexico. The United States alleges that his

 5                 presences in this country is illegal. There is an immigration detainer pending against

 6                 him. The issue of detention in this case is therefore essentially moot.

 7         (3)     Defendant and his counsel offered nothing in opposition to the entry of an order of

 8                 detention.

 9         (4)     Upon advice of counsel, defendant declined to be interviewed by this court’s pretrial

10                 services officer. There is therefore limited information available about him.

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13   It is therefore ORDERED:

14         (1)     Defendant shall be detained pending trial and committed to the custody of the Attorney

15                 General for confinement in a corrections facility separate, to the extent practicable,

16                 from persons awaiting or serving sentences or being held in custody pending appeal;

17         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

18                 counsel;

19         (3)     On order of a court of the United States or on request of an attorney for the

20                 Government, the person in charge of the corrections facility in which defendant is

21                 confined shall deliver the defendant to a United States Marshal for the purpose of an

22                 appearance in connection with a court proceeding; and

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     DETENTION ORDER - 2
26   18 U.S.C. § 3142(i)
        Case 2:08-cr-00144-JLR       Document 28        Filed 05/29/08       Page 3 of 3



 1        (4)   The clerk shall direct copies of this order to counsel for the United States, to counsel

 2              for the defendant, to the United States Marshal, and to the United States Pretrial

 3              Services Officer.

 4        DATED this 29th day of May, 2008.

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                                                         /s/Brian A. Tsuchida
 6                                                     BRIAN A. TSUCHIDA
                                                       United States Magistrate Judge
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     DETENTION ORDER - 3
26   18 U.S.C. § 3142(i)
